Case 3:02-cr-00035-JPB-JES Document 614 Filed 05/10/06 Page 1 of 2 PageID #: 2192




                          THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF WEST VIRGINIA
                                  AT MARTINSBURG

  CLYDE EDWARD BROWN,

                 Petitioner,

  v.                                                    CIVIL ACTION NO. 3:04CV64-4
                                                        CRIMINAL ACTION NO. 3:02CR35
                                                        (BROADWATER)

  UNITED STATES OF AMERICA,

                 Respondent.

                                 ORDER ADOPTING
                    MAGISTRATE’S REPORT AND RECOMMENDATION

         The above styled matter came before the Court for consideration of the a petition under 28

  U.S.C. §2255 for writ of habeas corpus by a person in federal custody filed on July 26, 2004.

  Magistrate Judge James E. Seibert reviewed the claims made in the petition and issued his Report

  and Recommendation on June 21, 2005. Petitioner filed objections thereto on July 28, 2005 and

  March 3, 2006. In the interests of justice and in accordance with 28 U.S.C. § 636(b)(1), the Court

  has conducted a de novo review.

         The Court, after reviewing the above, is of the opinion that the Magistrate Judge’s Report

  and Recommendation should be and is hereby ORDERED adopted (Document No. 586). Petitioner

  objects to the Magistrate’s finding that Booker and Hughes should not be applied retroactively to

  cases on collateral review. United States v. Booker, 1543 U.S. 220 (2005); United States v. Hughes,

  401 F.3d 540, 546 (4th Cir.2005). Petitioner argues that the holdings should be applied to the instant

  case. The Court finds that the decision in Booker should not be applied retroactively, for the reasons

  stated in the Magistrate’s Report and Recommendation. The Court further notes, that because

  Brown’s sentence was based on facts admitted by stipulation in his plea agreement and he failed to
Case 3:02-cr-00035-JPB-JES Document 614 Filed 05/10/06 Page 2 of 2 PageID #: 2193




  make a showing of actual prejudice due to the sentencing guideline’s mandatory application, the

  Petitioner would not be entitled to relief under Booker if that decision’s holdings were applied to

  this case.

          The Court, therefore, ORDERS that the Petitioner’s Motion Under 28 U.S.C. §2255

  to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody (Document No. 562), be

  DENIED WITH PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report and

  Recommendation, and STRICKEN from the active docket of this Court. Petitioner’s Motion for

  Expedited Relief (Document No. 594) is DENIED as MOOT.

          The Clerk is directed to transmit true copies of this Order to the petitioner, counsel of record

  herein, and to Magistrate Judge Seibert.

          DATED this 10th day of May 2006.
